Case:17-03283-LTS Doc#:13602 Filed:07/10/20 Entered:07/10/20 12:56:44                                       Desc: Main
                            Document Page 1 of 6



                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO

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                                                                     :
      In re
                                                                     :
      THE FINANCIAL OVERSIGHT AND                                    :   PROMESA
      MANAGEMENT BOARD FOR PUERTO RICO, :
                                                                     :   Title III
                                                                     :
             as representative of
                                                                     :   Case No. 17-BK-3283-LTS
      THE COMMONWEALTH OF PUERTO RICO, et :
                                                                     :   Court Filing Relates Only to PREPA
      al.
                                                                     :
                                                                     :
                        Debtor.
                                                                     :
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                                                                     :
      In re
                                                                     :
      THE FINANCIAL OVERSIGHT AND                                    :   PROMESA
      MANAGEMENT BOARD FOR PUERTO RICO, :                                Title III
                                                                     :
             as representative of                                    :
                                                                     :   Case No. 17-04780-LTS
      PUERTO RICO ELECTRIC POWER                                     :
      AUTHORITY (PREPA),            *                                :   (Jointly Administered)
                                                                     :
                                                                     :
                        Debtor.
                                                                     :
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        EMERGENCY MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS, THE FUEL LINE LENDERS AND UTIER TO ADJOURN OBJECTION
               DEADLINE AND HEARING DATE FOR LUMA ENERGY
                       ADMINISTRATIVE EXPENSE MOTION


  *
       The Debtors in these Title III cases, along with each Debtor’s respective Title III case number listed as a
  bankruptcy case number and the last four (4) digits of each Debtor’s federal tax identification number, as applicable,
  are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax
  ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS)
  (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”)
  (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement
  System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS)
  (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case
  No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority
  (“PBA”) (Bankruptcy Case No. 19 BK 5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
Case:17-03283-LTS Doc#:13602 Filed:07/10/20 Entered:07/10/20 12:56:44                        Desc: Main
                            Document Page 2 of 6



                  The Official Committee of Unsecured Creditors, the Fuel Line Lenders1 and

  UTIER2 (collectively, the “Creditor Parties”) respectfully submit this Emergency Motion to

  adjourn the objection deadline and hearing date for the Motion for Entry of an Order Allowing

  Administrative Expense Claim for Compensation for Front-End Transition Services Under the

  Puerto Rico Transmission and Distribution System Operation and Maintenance Agreement with

  LUMA Energy (Docket Entry No. 1947 in Case No. 17-4780, the “Administrative Expense

  Motion”).3

          1.      Late on July 7, the Government Parties filed the Administrative Expense Motion.

  They noticed it for a hearing on July 29, which means that, under the Case Management

  Procedures, objections would be due on July 14 — one week after the motion was filed. The

  Administrative Expense Motion, together with its exhibits, is 715 pages long. It includes an

  exceedingly complex agreement to transfer the operation of PREPA’s T&D System to a private

  operator, a factual declaration by PREPA’s CEO, and a detailed report from the P3 Authority

  explaining LUMA’s selection.

          2.      By the Government Parties’ own account, the selection of a private operator to

  control the T&D System is a “critical” development. See, e.g., Declaration of Omar Marrero in

  Support of Administrative Expense Motion ¶ 24 (Docket Entry No. 1947-2 in Case No. 17-

  4780). Among other important consequences for the case, the Administrative Expense Motion

  appears to seek, as an integral part of the T&D Contract, this Court’s allowance of very

  substantial priority claims (over $136 million) in the form of Front-End Transition Obligations


  1
     The Fuel Line Lenders are Cortland Capital Market Services LLC (“Cortland”), as successor
  administrative agent under a Credit Agreement, dated May 4, 2012, among PREPA, Scotiabank de Puerto
  Rico and certain lenders (the “Scotiabank Credit Agreement”).
  2
      UTIER is the Unión de Trabajadores de la Industria Eléctrica y Riego, Inc.
  3
      Capitalized terms have the same meanings as in the Administrative Expense Motion.
Case:17-03283-LTS Doc#:13602 Filed:07/10/20 Entered:07/10/20 12:56:44                          Desc: Main
                            Document Page 3 of 6



  that would need to be paid in order for PREPA to confirm a plan and exit Title III. The

  allowance of such a large priority claim against PREPA is highly significant to the Creditor

  Parties, and has the potential to affect their recoveries and the resolution of this case; thus, the

  Administrative Expense Motion requires careful attention and analysis.

         3.      The Creditor Parties have all begun to evaluate the Administrative Expense

  Motion to determine whether to object and what discovery may be needed. But given the

  motion’s complexity and significance, it is patently unreasonable to have only one week to

  understand the scope and consequences of the relief sought, whether any of their rights are being

  prejudiced, and whether to file objections and on what grounds.

         4.      Under the terms of the Government Parties’ agreement with LUMA Energy, the

  Government Parties’ deadline to obtain approval of the Administrative Expense Motion is

  October 6, 2020. That deadline can be extended up to an additional 45 days (to November 20,

  2020) by the P3 Authority alone, and further extensions can be made with the consent of P3 and

  LUMA Energy. Thus, there is no legitimate reason why the Administrative Expense Motion

  must be heard on July 29, and there would be no prejudice to the Government Parties or LUMA

  Energy from granting a reasonable adjournment.

         5.      The Creditor Parties reached out to the Government Parties the day after the

  Administrative Expense Motion was filed to seek their consent to an adjournment of the

  deadlines. Late on July 9, the Oversight Board responded by expressing willingness to adjourn

  the hearing to September 16-17, but only if the Creditor Parties would agree “that any discovery

  will be limited to requests for production of documents that do not include email or other

  communications, and limited to the benefits the government parties expect LUMA will achieve

  for the T&D System under the terms of the O&M Agreement, i.e. the relief sought in the LUMA




                                                    -3-
Case:17-03283-LTS Doc#:13602 Filed:07/10/20 Entered:07/10/20 12:56:44                        Desc: Main
                            Document Page 4 of 6



  motion.” At this stage, the Creditor Parties have not determined what discovery (if any) may be

  needed. But there is no basis for the Oversight Board to require the Creditor Parties to waive

  basic discovery rights under the Federal Rules of Civil Procedure — including the right to seek

  discovery of any “communications” — in order to get a reasonable schedule on a highly

  consequential motion.

         6.      The Creditor Parties regret that a scheduling dispute like this one has resulted in

  an emergency motion. This Court has previously expressed its concern with the repeated

  practice in this case of burdening the Court and other parties with motions “whose urgency

  seems to arise from the date on which they were filed as opposed to context.” Jan 29, 2020 Hr’g

  Tr. at 13:3-4 (Docket Entry No. 10594 in Case No. 17-3283). For their part, the Creditor Parties

  tried to avoid burdening the Court with yet another such motion; unfortunately, the Government

  Parties’ insistence on urgent objections to a motion that is far from urgent has necessitated it.

         7.      For these reasons, the Creditor Parties request that the hearing date on the

  Administrative Expense Motion be adjourned to the omnibus hearing on September 16-17, 2020,

  without prejudice to a further adjournment if needed. If the Court is so inclined, the Creditor

  Parties would be prepared to participate at a status conference on the Administrative Expense

  Motion at the July 29 omnibus hearing.

                                          CERTIFICATION

                 Pursuant to Local Rule 9013-1 and paragraph I.H of the Case Management

  Procedures, the Creditor Parties hereby certify that they have (a) carefully examined the matter

  and concluded that there is a true need for an emergency motion; (b) not created the emergency

  through a lack of due diligence; (c) made a bona fide effort to resolve the matter without a

  hearing; (d) made reasonable, good faith communications in an effort to resolve or narrow the

  issues being brought to the court; and (e) conferred with counsel for the Government Parties,


                                                   -4-
Case:17-03283-LTS Doc#:13602 Filed:07/10/20 Entered:07/10/20 12:56:44                    Desc: Main
                            Document Page 5 of 6



  who to date have stated that any adjournment should be tied to a waiver by the Creditor Parties

  of discovery rights.



   Dated: July 10, 2020                            Respectfully submitted,

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Case:17-03283-LTS Doc#:13602 Filed:07/10/20 Entered:07/10/20 12:56:44   Desc: Main
                            Document Page 6 of 6




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